                  Case: 3:18-cv-50040 Document #: 88 Filed: 05/10/19 Page 1 of 2 PageID #:312
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                  ALIAS SUMMONS IN A CIVIL CASE
PATRICK PURSLEY

                                                                 CASE NUMBER:       3:18-cv-50040
                                V.                               ASSIGNED JUDGE:
                                                                                    Philip G. Reinhard
 THE CITY OF ROCKFORD, et. al.                                   DESIGNATED
                                                                 MAGISTRATE JUDGE: Lisa A. Jensen


                    TO: (Name and address of Defendant)
       Jim Bowman




          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Roshna Bala Keen
                 LOEVY & LOEVY
                 311 N Aberdeeen Street, 3rd Floor
                 Chicago, IL 60607


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                    April 26, 2019
     (By) DEPUTY CLERK                                                              DATE
Case: 3:18-cv-50040 Document #: 88 Filed: 05/10/19 Page 2 of 2 PageID #:313
